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17                                UNITED STATES DISTRICT COURT

18                                    DISTRICT OF NEVADA

19
      Cung Le, Nathan Quarry, Jon Fitch, Brandon      Case No.: 2:15-cv-01045-RFB-BNW
20    Vera, Luis Javier Vazquez, and Kyle
      Kingsbury on behalf of themselves and all       DECLARATION OF SUZANNE E. NERO
21    others similarly situated,                      IN SUPPORT OF DEFENDANT ZUFFA,
                                                      LLC’S SUPPLEMENTAL BRIEF IN
22                  Plaintiffs,                       OPPOSITION TO PLAINTIFFS’
             v.                                       MOTION FOR CLASS CERTIFICATION
23

24    Zuffa, LLC, d/b/a Ultimate Fighting
      Championship and UFC,
25
                    Defendant.
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      S. NERO DECL ISO SUPPL BRIEF IN OPP TO                   Case No.: 2:15-cv-01045-RFB-BNW
      PLTFS’ MTN FOR CLASS CERT
           Case 2:15-cv-01045-RFB-BNW Document 743 Filed 09/12/19 Page 2 of 5




 1           I, Suzanne E. Nero, declare as follows:

 2           1.     I am a member in good standing of the bar of the State of California. I am

 3 admitted pro hac vice to practice before this Court. I am an Associate in the law firm Boies

 4 Schiller Flexner LLP and counsel for Zuffa, LLC (“Zuffa”) in the above-captioned action in the

 5 U.S. District Court for the District of Nevada, Le et al. v. Zuffa, LLC, No. 2:15-cv-01045-RFP-

 6 BNW.

 7           2.     I make this declaration in support of Defendant Zuffa, LLC’s Supplemental

 8 Brief in Opposition to Plaintiffs’ Motion for Class Certification.

 9           3.     Based on my personal experience, knowledge, and review of the files, records,

10 and communications in this case, I have personal knowledge of the facts set forth in this

11 Declaration and, if called to testify, could and would testify competently to those facts under

12 oath.

13           4.     Exhibit 1 to this Declaration is a true and correct copy of Evidentiary Hearing
14 Exhibit PCCX652 - Steven C. Salop, The Raising Rivals’ Cost Foreclosure Paradigm,

15 Conditional Pricing Practices and the Flawed Incremental Price-Cost Test, 81 Antitrust L.J. 371

16 (2017).

17           5.     Exhibit 2 to this Declaration is a true and correct copy of excerpts to the
18 deposition of Hal Singer, Ph.D, taken on September 27, 2017.

19           6.     Exhibit 3 to this Declaration is a true and correct copy of Evidentiary Hearing
20 Exhibit PCCX604 - Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of

21 Antitrust Principles and Their Application (4th ed. 2017).

22           7.     Exhibit 4 to this Declaration is a true and correct copy of Evidentiary Hearing
23 Exhibit ZCCX201 - Ex 99 Motion for Summary Judgment.

24           8.     Exhibit 5 to this Declaration is a true and correct copy of Evidentiary Hearing
25 Exhibit JCCX39 - David Autor, David Dorn, Lawrence Katz, Christina Patterson, & John Van

26 Reenen, Concentrating on the Fall of the Labor Share, 107(5) American Economic Review:

27 Papers & Proceedings 180 (2017).

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      S. NERO DECL ISO SUPPL BRIEF IN OPP TO                     Case No.: 2:15-cv-01045-RFB-BNW
      PLTFS’ MTN FOR CLASS CERT
          Case 2:15-cv-01045-RFB-BNW Document 743 Filed 09/12/19 Page 3 of 5




 1         9.      Exhibit 6 to this Declaration is a true and correct copy of Evidentiary Hearing
 2 Exhibit PCCX644 - Simcha Barkai, Declining Labor and Capital Shares (U. of Chicago, New

 3 Working Paper Series No. 2, 2016), available at

 4 https://research.chicagobooth.edu/~/media/5872fbeb104245909b8f0ae8a84486c9.pdf

 5         10.     Exhibit 7 to this Declaration is a true and correct copy of Evidentiary Hearing
 6 Exhibit JCCX56 - Gerald W. Scully, Player Salary Share and the Distribution of Player

 7 Earnings, 25(2) Managerial and Decision Economics 77 (2004).

 8         11.     Exhibit 8 to this Declaration is a true and correct copy of Evidentiary Hearing
 9 Exhibit PCCX549 - Lawrence M. Kahn, The Sports Business as a Labor Market Laboratory, 14

10 Journal of Economic Perspectives 81 (2000).

11         12.     Exhibit 9 to this Declaration is a true and correct copy of excerpts of the
12 deposition of Alan Manning, taken February 8, 2018.

13         13.     Exhibit 10 to this Declaration is a true and correct copy of Evidentiary Hearing
14 Exhibit JCCX72 - Richard McGowan & John Mahon, Demand for the Ultimate Fighting

15 Championship: An Econometric Analysis of PPV Buy Rates, 6(6) Journal of Business &

16 Economics 1032 (2015).

17         14.     Exhibit 11 to this Declaration is a true and correct copy of the webpage accessed
18 on September 12, 2019 at the URL - https://www.abainternational.org/media/jmerscam.aspx

19 (ABAI Phishing Scam Alert re: Academic Star Publishing Company).

20         15.     Exhibit 12 to this Declaration is a true and correct copy of the webpage accessed
21 on September 12, 2019 at the URL - http://www.academicstar.us/journalsshow.asp?ArtID=371

22 (Academic Star Publishing Journal of Business and Economics Website).

23         16.     Exhibit 13 to this Declaration is a true and correct copy of the webpage accessed
24 on September 12, 2019 at the URL - https://www.worldcat.org/title/journal-of-business-and-

25 economics/oclc/911567023&referer=brief_results (WorldCat Report for Journal of Business and

26 Economics).

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 1          17.    Exhibit 14 to this Declaration is a true and correct copy of Evidentiary Hearing
 2 Exhibit PCCX475 - Errata to the Expert Report of Andrew Zimbalist in Cung Le, et al. v.

 3 Zuffa, LLC.

 4          18.    Exhibit 15 to this Declaration is a true and correct copy of an excerpt of
 5 Evidentiary Hearing Exhibit JCCX12 - Explosion Entertainment Strikeforce Event P&L,

 6 3/1/2009 - 2/28/2014.

 7          19.    Exhibit 16 to this Declaration is a true and correct copy of excerpts of the
 8 deposition of Andrew Zimbalist, Ph.D, taken January 26, 2018.

 9          20.    Exhibit 17 to this Declaration is a true and correct copy of Evidentiary Hearing
10 Exhibit ZCCX279 - Supplemental Expert Report of Edward E. Leamer, Ph.D., filed in In re

11 High-Tech Employees Antitrust Litig., October 1, 2012.

12          21.    Exhibit 18 to this Declaration is a true and correct copy of Evidentiary Hearing
13 Exhibit ZCCX292 - Weight Data for Foreclosure (Ex. 4 to H. Singer Deposition).

14          22.    Exhibit 19 to this Declaration is a true and correct copy of Evidentiary Hearing
15 Exhibit PCCX685 - William M. Boal & Michael R. Ransom, Monopsony in the Labor Market,

16 Journal of Economic Literature (1997).

17          23.    Exhibit 20 to this Declaration is a true and correct copy of Evidentiary Hearing
18 Exhibit PCCX531 - John Vrooman, Theory of the Perfect Game: Competitive Balance in

19 Monopoly Sports Leagues, 34 Review of Industrial Organization 5 (2009).

20          24.    Exhibit 21 to this Declaration is a true and correct copy of excerpts of the
21 deposition of Hal Singer, Ph.D, taken January 23, 2018.

22          25.    Exhibit 22 to this Declaration is a true and correct copy of excerpts of the
23 deposition of Andrew Zimbalist, Ph.D, taken September 25, 2017.

24          26.    Exhibit 23 to this Declaration is a true and correct copy of Evidentiary Hearing
25 Exhibit ZCCX249 - Phillip Areeda, Herbert Hovenkamp, Roger D. Blair, & Christine Piette

26 Durrance, Antitrust Law: An Analysis of Antitrust Principles and Their Application (4th ed.

27 2014), Volume IIA.

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     S. NERO DECL ISO SUPPL BRIEF IN OPP TO                    Case No.: 2:15-cv-01045-RFB-BNW
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 1          27.    Exhibit 24 to this Declaration is a true and correct copy of Evidentiary Hearing
 2 Exhibit JCCX55 - Gerald W. Scully, Pay and Performance in Major League Baseball, 64(6)

 3 The American Economic Review 915 (1974).

 4          28.    Exhibit 25 to this Declaration is a true and correct copy of Evidentiary Hearing
 5 Exhibit ZCCX179 - Andrew Zimbalist, There’s more than meets the eye in determining

 6 players’ salary shared, Sports Business Journal (Mar. 10, 2008),

 7 https://www.sportsbusinessdaily.com/Journal/Issues/2008/03/10/Opinion/Theres-More-Than-

 8 Meets-The-Eye-In-Determining-Players-Salary-Shares.aspx

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10          I declare under penalty of perjury under the laws of the United States of America that the
11 foregoing facts are true and correct. Executed this 12th day of September, 2019 in Las Vegas,

12 Nevada.

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14
                                                         /s/ Suzanne E. Nero
15                                                       Suzanne E. Nero
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     S. NERO DECL ISO SUPPL BRIEF IN OPP TO                    Case No.: 2:15-cv-01045-RFB-BNW
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